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                           EXHIBIT A




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                                      UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION


        DAN BUNKERING (AMERICA) INC.                      §
                                                          §
                   Plaintiff,                             §
                                                          §
                                                          §
                                                          §
        V.                                                §      CIVIL ACTION NO.: 4:20-cv-00321
                                                          §      IN ADMIRALTY, Rule 9(h)(C)
                                                          §
        SWIBER MARINE MEXICO, S.A. DE                     §
        C.V., RANGER OFFSHORE, INC.,                      §
        IN PERSONAM                                       §
        AND M/V SWIBER ADA IN REM                         §
                                                          §
                   Defendants.                            §

                                    DAN BUNKERING (AMERICA) INC.’S REQUEST FOR
                                        INTERNATIONAL JUDICIAL ASSISTANCE
                                               (LETTER ROGATORY)


                   THE UNITED STATES DISTRICT COURT, Southern District of Texas, Houston

        Division presents its compliments to the appropriate judicial authority of Mexico and requests

        international judicial assistance to serve a complaint to be used in a civil proceeding before this

        court in the above-styled matter.

                   This court requests the assistance described herein as necessary in the interest of justice.

                   The assistance requested is that the appropriate Central Authority of Mexico, Ministry of

        Foreign Affairs, Directorate-General of Legal Affairs, Plaza Juárez No. 20, Planta Baja, Col.

        Centro, Alcaldía Cuauhtémoc, C.P. 06010 Ciudad de México, Mexico, effects service of process

        of the attached herein Summons and Verified Amended Complaint filed in this court on June 9,

        2020 (“Exhibit 1”), upon Swiber Marine de Mexico S.A. de C.V. (“Swiber”) with its principal


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        office at Corporativo Antara I, Av Ejército Nacional 843 B, Granada, Miguel Hidalgo, 11520

        Ciudad de México, CDMX, Mexico, and to authorize Miguel Angel Hernandez Romo, Miguel

        Angel Hernandez-Romo Valencia, Jorge Enrique Hernandez Marin, Laura Jimenez- O’Farrill

        Gutierrez de Velasco y Carlos Gerardo Barojas Flores of Foley Arena | A Subsidiary of Foley &

        Lardner LLP, as legal representative of Dan Bunkering (America) Inc. to carry on all the activities

        related to the service of the Summons and Verified Amended Complaint according to applicable

        Mexican law.

                                                          FACTS

                   In the fall of 2018, Dan Bunkering entered into a bunker supply agreement with Ranger

        Offshore, Inc. (“Ranger”). Ranger ordered marine fuel from Dan Bunkering and failed to pay

        Invoice No. 61273 for $405,999.01. Pursuant to Bill of Lading No. 18/0075, on September 11,

        2018, 80,600 gallons of fuel were delivered for the benefit of M/v Swiber ADA (the “Vessel”).

                   Both, Swiber and Ranger benefited from the marine fuel consumed by the Vessel ordered

        by Ranger and sold by Dan Bunkering. Invoice No. 61273 for $405,999.01 remains outstanding,

        plus all applicable fees, interest, and costs. As a result of the foregoing, Dan Bunkering has a valid

        maritime lien against the vessel for the provision of necessaries.

                   M/v Swiber ADA is currently under arrest by Dan Bunkering in Tuxpan de Rodriguez Cano,

        Veracruz, Mexico. On September 8, 2020, Judge Juan Manuel Gomez Soriano of the Seventh

        District Court of the State of Mexico, issued an order directing the seizure of M/v Swiber ADA, as

        an interim relief measure. The seizure was effectively performed on September 10, 2020 at 10:00

        a.m.

                                                 RECIPROCITY




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                   This court hereby expresses its willingness to provide some assistance to judicial

        authorities of Mexico.

                                           REIMBURSEMENT OF COSTS

                   This court also indicates a willingness to require the parties seeking this relief to reimburse

        the judicial authorities of Mexico for the cost incurred in executing this Letter Rogatory.


                   Done on this _______ day of _____________________, 2020.




                   Houston, Texas, United States




                                                              _______________________________________
                                                              UNITED STATES DISTRICT COURT
                                                              JUDGE KEITH P. ELLISON




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        SouthernDistrict
                                                    __________   Districtofof__________
                                                                              Texas

           DAN BUNKERING (AMERICA) INC.                                 )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 4:20-CV-00321 IN ADMIRALTY
                                                                        )
        SWIBER MARINE MEXICO, S.A. DE                                   )
 C.V., RANGER OFFSHORE, INC., IN PERSONAM                               )
         AND M/V SWIBER ADA IN REM
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Swiber Marine de Mexico S.A. de C.V.
                                           Corporativo Antara I, Av Ejército Nacional 843 B, Granada, Miguel Hidalgo, 11520
                                           Ciudad de México, CDMX, Mexico




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Anacarolina Estaba
                                           Foley & Lardner LLP
                                           1000 Louisiana, Suite 2000
                                           Houston, Texas 77002


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF J.
                                                                                   David COURT
                                                                                           Bradley, Clerk of Court


Date: October 6, 2020
Date:
                                                                                     s/ Jacqueline
                                                                                          Signature ofMata
                                                                                                       Clerk or Deputy Clerk
                                                                                     Signature of Clerk or Deputy Clerk
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                                      UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION


        DAN BUNKERING (AMERICA) INC.                     §
                                                         §
                   Plaintiff,                            §
                                                         §
                                                         §
                                                         §
        V.                                               §      CIVIL ACTION NO.: 4:20-cv-00321
                                                         §      IN ADMIRALTY, Rule 9(h)(C)
                                                         §
        SWIBER MARINE MEXICO, S.A. DE                    §
        C.V., RANGER OFFSHORE, INC.,                     §
        IN PERSONAM                                      §
        AND M/V SWIBER ADA IN REM                        §
                                                         §
        Defendants.                                      §

                                       VERIFIED AMENDED COMPLAINT

                   Dan Bunkering (America) Inc., files its Verified Amended Complaint against M/V Swiber

        Ada (“the Vessel”) in rem, Swiber Marine de Mexico, S.A. de C.V., and Ranger Offshore, Inc., in

        personam, stating an admiralty and maritime claim pursuant to Rule 9(h) of the Federal Rules of

        Civil Procedure and Rule C of the Supplemental Rules for Certain Admiralty and Maritime Claims,

        and shows the following:

                                  I.     JURISDICTION, VENUE AND PARTIES

                   1.      Jurisdiction is proper in accordance with 28 U.S.C. §1333, Rule 9(h) of the Federal

        Rules of Civil Procedure, and Rule C of the Supplemental Rules for Certain Admiralty and

        Maritime Claims. Venue is also proper in this district in accordance with 28 U.S.C. §1391(b)(2)

        and (d) and Rule C of the Supplemental Rules for Certain Admiralty and Maritime Claims.




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                   2.     Plaintiff, Dan Bunkering (America) Inc. (“Dan Bunkering”) is engaged in the

         business of selling and supplying bunker fuel to vessels, and is incorporated under the laws of

         Texas, with its principal office at 840 Gessner, Suite 210, Houston, Texas 77024.

                   3.     Defendant, Swiber Marine de Mexico S.A. de C.V. (“Swiber”) is the owner of the

         Vessel, and is incorporated under the laws of Mexico, with its principal office at Calle 2 Ote. Mz.

         G Lt. 2, Puerto Pesquero, Ciudad del Carmen, Campeche 24129, Mexico.

                   4.     Defendant, M/V Swiber ADA, a Mexican flag offshore supply ship, IMO 9502154,

         Mexican flag (matricula 04023195324), registered in page No. 0082-CC-14 of the Mexican Maritime

         Registry Authority (Registro Publico Maritimo Nacional).1

                   5.     Defendant, Ranger Offshore, Inc. (“Ranger”) is a charterer and operator, and is

         incorporated under the laws of Texas, with its principal office at 10370 Richmond Ave, Houston,

         Texas 77042.

                   6.     Upon information and belief, the Vessel is or will soon be, within the jurisdiction

         of this Honorable Court.

                                               II.     FACTUAL BACKGROUND

                   7.     In the fall of 2018, Dan Bunkering entered into a bunker supply agreement with

         Ranger. Ranger ordered marine fuel from Dan Bunkering and failed to pay Invoice No. 61273 for

         $405,999.01.2 Pursuant to Bill of Lading No. 18/0075, on September 11, 2018, 80,600 gallons of

         fuel were delivered to and for the benefit of the Vessel.3

                   8.     Both Swiber and Ranger benefited from the marine fuel consumed by the Vessel

         ordered by Ranger and sold by Dan Bunkering.




         1
           Certificate No. 142/2020 issued by the Mexican Maritime Registry Authority (Registro Publico Maritimo
         Nacional) with the name of the Vessel, “Swiber ADA” and its registered owner Swiber Marine Mexico, S.A. de
         C.V. (Exhibit 1).
         2
           Invoice No. 61273 for $405,999.01. (Exhibit 2).
         3
           Bill of Lading No. 18/0075. (Exhibit 3).

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                   9.    Invoice No. 61273 for $405,999.01 remains outstanding, plus all applicable fees,

         interest, and costs.

                   10.   As a result of the foregoing, Dan Bunkering has a valid maritime lien against the

         vessel for the provision of necessaries.

                                             III.    RULE C ARREST

                   11.   Pursuant to Rule C of the Supplemental Rules for Admiralty or Maritime Claims

         and Asset Forfeiture Actions to the Federal Rules of Civil Procedure 46 U.S.C. § 31341, et. seq,

         Dan Bunkering has a maritime lien against the Vessel for the amount of $405,999.01 for provisions

         of necessaries, specifically marine fuel, to the Vessel at the request of and upon order of her owner,

         which may be enforced by the in rem seizure of the Vessel, pursuant to Federal Rules of Civil

         Procedure Rule C of the Supplemental Rules for Certain Admiralty and Maritime Claims and Asset

         Foreclosure Actions. Therefore, Dan Bunkering requests that process in due form of law,

         according to the practices of this Court is issued against the Vessel, her engines, machinery, tackle,

         apparel, equipment, rigging, and all other necessary appurtenances, and freight, etc.

                   12.   All the foregoing premises are true and correct and within the Admiralty and

         Maritime Jurisdiction of this Honorable Court.

                   WHEREFORE, Dan Bunkering (America) Inc. prays:

                   (1)   That process in due form of law, according to the practice of this Court in cases of

                   admiralty jurisdiction issue against the Vessel her engines, machinery, tackle, apparel,

                   equipment, rigging, and all other necessary appurtenances, and freight, etc., Swiber and

                   Ranger.

                   (2)   That a judgment be entered in favor of Dan Bunkering (America) Inc. against the

                   Vessel, her engines, machinery, tackle, apparel, equipment, rigging, and all other

                   necessary appurtenances, and freight, etc., and judgement in personam against Swiber and

                   Ranger;

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                   (3)   That the Court retain jurisdiction over the Vessel, within the District in order to

                   enter a judgment upon any decree in these proceedings;

                   (4)   That the “necessaries” provided by Dan Bunkering (America) Inc. declared to be a

                   valid and subsisting lien upon the Vessel, her engines, machinery, tackle, apparel,

                   equipment, rigging, and all other necessary appurtenances, and freight, etc., and all other

                   equipment and necessaries belonging and appurtenant thereto, which to the extent

                   permitted by applicable law is prior and superior to other potential interest, liens or claims

                   of any and all persons, firms or corporations whatsoever;

                   (5)   That Dan Bunkering (America) Inc. be awarded its attorneys’ fees and costs of this

                   action; and

                   (6)   That Dan Bunkering (America) Inc. be granted all such other and further relief as

                   equity, justice and the nature of this case will allow.

                   DATED this June 9, 2020.

                                                                 FOLEY GARDERE
                                                                 FOLEY & LARDNER LLP

                                                                 By: /s/ Anacarolina Estaba
                                                                 Peter A. McLauchlan
                                                                 State Bar No. 13740900
                                                                 Federal Bar No. 6370
                                                                 pmclauchlan@foley.com
                                                                 Anacarolina Estaba
                                                                 State Bar No. 24085298
                                                                 Federal Bar No. 964979
                                                                 aestaba@foley.com
                                                                 1000 Louisiana, Suite 2000
                                                                 Houston, Texas 77002-2099
                                                                 Telephone: (713) 276-5500
                                                                 Facsimile: (713) 276-5555

                                                                 ATTORNEYS FOR PLAINTIFF,
                                                                 DAN BUNKERING (AMERICA) INC.




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                                     UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION


        DAN BUNKERING (AMERICA) INC.                    §
                                                        §
                   Plaintiff,                           §
                                                        §
                                                        §
                                                        §
        V.                                              §       CIVIL ACTION.: 4:20-CV-00321
                                                        §       IN ADMIRALTY, Rule 9(h)(C)
                                                        §
        SWIBER MARINE MEXICO, S.A. DE                   §
        C.V., RANGER OFFSHORE, INC.,                    §
        IN PERSONAM                                     §
        AND M/V SWIBER ADA IN REM                       §
                                                        §
        Defendants.                                     §


                                                  VERIFICATION


        Pursuant to 28 U.S.C. § 1746, I declare as follows:

        1.         My name is Jim Feldtskov Behbahani Jensen. I am over the age of 21, of sound mind,
                   and have never been convicted of a felony. I am the President and Managing Director for
                   Dan Bunkering (America) Inc., Plaintiff herein.

        2.         I have read the foregoing Verified Amended Complaint and know the contents thereof.

        3.         Based upon my own personal knowledge and upon documents and correspondence kept
                   in the ordinary course of business, the information contained therein is true and correct.

        4.         I declare under penalty of perjury under the laws of the United States of America that the
                   foregoing is true and correct.

        Executed this 8th day of June 2020.



                                                                ____________________________________
                                                                Jim Feldtskov Behbahani Jensen,
                                                                President and Managing Director




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